       Case 2:19-cv-00940-GBW-GJF Document 11 Filed 01/22/20 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

                            Before the Honorable Gregory J. Fouratt
                                United States Magistrate Judge

                                            Clerk’s Minutes

                                      CIV 19-940 GBW/GJF

                   Montgomery v. Continental Intermodal Group Trucking LLC

                                   Date of Hearing: 1/21/2020
                                (Recorded – Dona Ana Courtroom)

                 Attorney for Plaintiffs:                     Drew Herrmann, Matthew Thomson

                Attorney for Defendant:                       Janet Hendrick

                            Proceedings:                      Telephonic Rule 16 Conference
                             Start Time:                      2:00 p.m.
                             Stop Time:                       2:32 p.m.
                            Total Time:                       32 minutes

                                   Clerk:                     GBG

Notes:

   •     The Court made introductions.
   •     The Court began by discussing with Mr. Thomson the nature of Plaintiff’s complaint. Mr.
         Thomson confirmed that, although he expected additional plaintiffs to be added to this suit,
         the complaint would not be amended to include any allegations under the Fair Labor
         Standards Act (“FLSA”). In response to the Court’s question, Mr. Thomson explained that
         the FLSA might have exempted plaintiffs from having a cause of action, whereas the New
         Mexico Minimum Wage Act (“NMMWA”) arguably does not. Mr. Thomson also stated
         that, based on representations from his clients, there might be over 150 putative class
         members.
   •     The Court discussed with the parties how to approach discovery, particularly in light of a
         preliminary issue that could be dispositive of this case: whether “the Federal Aviation
         Administration Authorization Act, the Motor Carrier Act and/or Motor Carrier exemption
         to the overtime requirements of the [FLSA]” preempts the NMMWA. ECF 10 at 4 (Joint
         Status Report).
   •     Regarding this preliminary issue, Ms. Hendrick stated that some limited discovery would
         be necessary, including obtaining evidence from her clients and Mr. Montgomery. She
         also expressed her belief that Defendant’s records suggest that there may be less than 20
         putative class members. Although Mr. Thomson believed that Plaintiff should be permitted
    Case 2:19-cv-00940-GBW-GJF Document 11 Filed 01/22/20 Page 2 of 2



    to begin the full range of discovery, he agreed that limited discovery could still be helpful,
    including only documentary discovery.
•   After further discussion, the Court stated that, at this stage, it would permit only
    documentary discovery—unless a party made a separate showing through a motion that a
    deposition was necessary. The parties would be required to serve their initial written
    discovery requests by February 4, 2020, and the responses to these requests would be due
    30 days later, March 5, 2020. In addition, Defendant would have until March 31, 2020,
    to file a dispositive motion regarding this preliminary issue. If Defendant needed
    additional time beyond that deadline, it would be required to show good cause (beyond
    being “really busy”).
•   The Court set a telephonic status conference for 2:00 p.m. on April 7, 2020, to discuss the
    status of the case, including the potential size of any putative class and whether the
    exchange of discovery had equipped the parties to participate in a settlement conference.
•   The Court stated that a separate order would be issued regarding this documentary
    discovery and the status conference.
•   Ms. Hendrick confirmed that there were no arbitration agreements that would be at issue
    in this case.
•   The Court adjourned.




                                              2
